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 8
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                             UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF ARIZONA
10

11
     MICHAEL J. BROSNAHAN,                        No. CV-16-08277-PCT-DLR
12

13                        Plaintiff,
                                                  REQUEST FOR JUDICIAL NOTICE
14          v.                                    IN SUPPORT OF DEFENDANTS
                                                  CALIBER HOME LOANS, INC.,
15                                                LSF9 MASTER PARTICIPATION
     CALIBER HOME LOANS, INC., LSF9               TRUST, AND SUMMIT SERVICE
16                                                AND REALTY LLC’S MOTION TO
     MASTER PARTICIPATION TRUST, and
     SUMMIT SERVICE AND REALTY LLC                DISMISS PLAINTIFF’S FIRST
17                                                AMENDED COMPLAINT
18                        Defendants.             (Honorable Douglas L. Rayes)
19

20

21

22          Defendants Caliber Home Loans, Inc., LSF9 Master Participation Trust, and
23   Summit Service and Realty LLC (collectively “Caliber”) respectfully request under
24   Federal Rule of Evidence 201 (“Rule 201”) that this Court take judicial notice of the
25   documents listed below in connection with Caliber’s Motion to Dismiss, which is filed
26   concurrently with this request.
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 1          Rule 201 allows a court to take judicial notice of documents outside of the
 2   complaint that are capable of accurate and ready determination by resort to sources whose
 3   accuracy cannot reasonably be questioned. Ariz. R. Evid. 201. Courts routinely take
 4   judicial notice of loan documents in foreclosure cases. See, e.g., Kuc v. Christiana Trust
 5   ARLP 3, No. CV-15-08136-PCT-DLR, 2016 WL 74712, at *1 n.2 (Jan. 6, 2016).
 6   Likewise, it is entirely proper for a court to take judicial notice of court filings in other
 7   cases. See, e.g., In re Sabino R., 198 Ariz. 424, 10 P.3d 1211 (Ct. App. 2000) (“It is
 8   proper for a court to take judicial notice of its own records or those of another action tried
 9   in the same court.”); Pierpont v. Hydro. Mfg. Co., Inc., 22 Ariz. App. 252, 526 P.2d 776
10   (1974). A district court may consider documents referred to or “whose contents are
11   alleged in the complaint” but are not attached to the plaintiff’s pleading. See, e.g.,
12   Lapidus v. Hecht, 232 F.3d 679, 682 (9th Cir. 2000).
13          The documents attached were all filed in the county recorder’s office or an earlier
14   action filed in the District Court of Arizona involving the Property at issue in this case.
15   The documents, of which the Court may take judicial notice, are briefly described below:
16              • Attached as Exhibit 1 is the Deed of Trust on the Property at issue,
17                which was filed in the Official Records of Coconino County on May
                  31, 2006 as Document number 3386186.
18
            •      Attached as Exhibit 2 is the Note, Riders, and other Loan
19
                   Documents (collectively the “Loan Documents”).
20
            •      Attached as Exhibit 3 is the Assignment of the Deed of Trust from
21                 MERS to Bank of America, N.A. Successor by Merger to BAC
                   Home Loans Servicing, LP, FKA Countrywide Home Loans
22
                   Servicing, LP, dated July 27, 2011 and recorded in the official
23                 records of Coconino County Recorder’s office, as Document number
                   3601435.
24
            •      Attached as Exhibit 4 is the Assignment of the Deed of Trust from
25
                   Bank of America, N.A. Successor by Merger to BAC Home Loans
26                 Servicing, LP, FKA Countrywide Home Loans Servicing, LP to
                   Christiana Trust, dated May 19, 2014 and recorded in the official
27                 records of Coconino County Recorder’s office, as Document number
28                 3692738.

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 1       •     Attached as Exhibit 5 is the Corrective Assignment of the Deed of
 2
               Trust from Bank of America, N.A. Successor by Merger to BAC
               Home Loans Servicing, LP, FKA Countrywide Home Loans
 3             Servicing, LP to Christiana Trust, a division of Wilmington Savings
               Fund Society, FSB, not in its individual capacity but as Trustee of
 4             ARLP Trust 4, dated July 2, 2014 and recorded in the official
 5             records of Coconino County Recorder’s office, as Document number
               3696095.
 6
         •     Attached as Exhibit 6 is the Assignment of the Deed of Trust from
 7
               Christiana Trust to Wilmington Trust, National Association, not in
 8             its individual capacity but as Trustee of ARLP Securitization Trust,
               Series 2014-2, dated March 27, 2015 and recorded in the official
 9             records of Coconino County Recorder’s office, as Document number
10             3720139.

11       •     Attached as Exhibit 7 is the Assignment of the Deed of Trust from
               Wilmington Trust, N.A., not in its individual capacity but as Trustee
12             of ARLP Securitization Trust, Series 2014-2 to Defendant LSF9
13             Master Participation Trust, dated July 19, 2016 and recorded in the
               official records of Coconino County Recorder’s office, as Document
14             number 3758829.
15       •     Attached as Exhibit 8 is the Substitution of Trustee wherein MERS
16             appointed Recontrust Company, N.A. under the DOT, dated May 1,
               2009 and recorded in the official records of Coconino County
17             Recorder’s office, as Document number 3522413.
18       •     Attached as Exhibit 9 is the Substitution of Trustee wherein
19             Wilmington Trust, N.A., not in its individual capacity but as Trustee
               of ARLP Securitization Trust, Series 2014-2, by its Servicer Ocwen
20             Loan servicing, LLC, under the DOT dated May 1, 2009, appointed
               Western Progressive - Arizona, Inc. as successor Trustee on May 21,
21
               2015 and recorded in the official records of Coconino County
22             Recorder’s office, as Document number 3725177.
23       •     Attached as Exhibit 10 is the Substitution of Trustee wherein
24             Defendant LSF9 Master Participation Trust, by Caliber Home
               Loans, Inc., solely in its capacity as servicer, appointed Summit
25             Services and Realty, LLC, as Trustee under the DOT, dated August
               22, 2015 and recorded in the official records of Coconino County
26             Recorder’s office, as Document number 3761244.
27
         •     Attached as Exhibit 11 is the Notice of Trustee’s Sale, to be held by
28             Recontrust Company, N.A., as Trustee, dated May 1, 2009 and

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 1             recorded in the official records of Coconino County Recorder’s
               office, as Document number 3522414.
 2

 3       •     Attached as Exhibit 12 is the Notice of Trustee’s Sale, to be held by
               Summit Services and Realty, LLC, as Trustee, dated August 23,
 4             2016 and recorded in the official records of Coconino County
 5
               Recorder’s office, as Document number 3761245.

 6       •     Attached as Exhibit 13 is the cancellation of the Notice of Trustee’s
               Sale, to be held by Summit Services and Realty, LLC, as Trustee,
 7             dated November 23, 2016 and recorded in the official records of
 8             Coconino County Recorder’s office, as Document number 3770489.

 9       •     Attached as Exhibit 14 is the Notice of Trustee’s Sale, to be held by
               Summit Services and Realty, LLC, as Trustee, for the benefit of
10             LSF9 Master Participation Trust, by Caliber Home Loans, Inc.,
11             solely in its capacity as servicer of the Loan, dated November 23,
               2016 and recorded in the official records of Coconino County
12             Recorder’s office, as Document number 3770490.
13       •     Attached as Exhibit 15 is the complaint for Case No. 3:10-cv-
14             08056-FJM, filed by Plaintiff in 2010 in the Superior Court in
               Coconino County, which was later removed by the defendant to this
15             Court against predecessor-in-interest Bank of America, making
               similar claims related to the Property.
16

17       •     Attached as Exhibit 16 is the Notice of Removal for Case No. 3:10-
               cv-08056-FJM [Doc. 1].
18
         •     Attached as Exhibit 17 is a copy of the full online docket for Case
19
               No. 3:10-cv-08056-FJM.
20
         •     Attached as Exhibit 18 is the Court’s Order granting Defendants’
21             motion to dismiss Plaintiff’s 2010 complaint for Case No. 3:10-cv-
               08056-FJM [Doc. 21].
22

23       •     Attached as Exhibit 19 is the Motion to Vacate Judgment, filed by
               Plaintiff in Case No. 3:10-cv-08056-FJM [Doc. 23].
24
         •     Attached as Exhibit 20 is the Motion to Compel Defendants’
25             Attorneys to Submit an Affidavit, filed by Plaintiff in Case No. 3:10-
26             cv-08056-FJM [Doc. 25].

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 1         •      Attached as Exhibit 21 is the Motion for Stay of Non-judicial
 2
                  Proceedings, filed by Plaintiff in Case No. 3:10-cv-08056-FJM
                  [Doc. 28].
 3
           •      Attached as Exhibit 22 is the Court’s Order denying Plaintiff’s
 4                Motion to Vacate and other motions in Case No. 3:10-cv-08056-
 5                FJM [Doc. 29].

 6         •      Attached as Exhibit 23 is the Motion to Recuse, filed by Plaintiff in
                  Case No. 3:10-cv-08056-FJM [Doc. 30].
 7
           •      Attached as Exhibit 24 is the Court’s Order denying Plaintiff’s
 8
                  Motion to Rescue in Case No. 3:10-cv-08056-FJM [Doc. 31].
 9
           •      Attached as Exhibit 25 is a copy of the full online docket for Case
10                No. 3:09-cv-08224-JAT.
11         Moreover, on a motion to dismiss, the Court may take judicial notice of matters of
12   public record outside the pleadings without converting the motion to a summary
13   judgement motion. See, e.g., MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th
14   Cir. 1986) (“On a motion to dismiss, [the court] may take judicial notice of matters of
15   public record outside the pleadings.”); see also Shaw v. Hahn, 56 F.3d 1128, 1129 n.1 (9th
16   Cir. 1995) (“In deciding whether to dismiss a claim under Fed. R. Civ. P. 12(b)(6), a court
17   may look beyond the plaintiff’s complaint to matters of public record.”); Mullis v. U.S.
18   Bankruptcy Court for Dist. of Nevada, 828 F.2d 1385, 1388 (9th Cir. 1987) (“[F]acts
19   subject to judicial notice may be considered on a motion to dismiss.”).
20                                          Conclusion
21         For the foregoing reasons, Defendants respectfully request that the Court take
22   judicial notice of the attached documents and contents contained therein.
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 1   Dated: February 9, 2017               PERKINS COIE LLP
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                                           By: /s/ Kendra L. Haar
 3
                                               Brian C. Lake
 4                                             Kendra L. Haar
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                                               2901 North Central Avenue
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 7                                         Attorneys for Defendants Caliber Home
 8                                         Loans, LSF9 Master Participation Trust,
                                           and Summit Service and Realty LLC
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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on February 9, 2017, I electronically transmitted the attached
 3   documents to the Clerk’s Office using the CM/ECF System for filing.
 4         I also certify that on February 9, 2017, I served a copy of the attached documents
 5   via First Class mail on Plaintiff Pro Se Michael J. Brosnahan, 21 Hummingbird Circle,
 6   Sedona, AZ 86336-7012.
 7                                           s/ Susan Carnall
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